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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                   CASE NO.: 18-22372-CIV-JLK


  M.D., C.F., and E.M., individually
  and on behalf of a class of similarly
  situated person,

         Plaintiffs,

  vs.

  CENTENE CORPORATION, INC. and
  CENTENE MANAGEMENT
  COMPANY, LLC.,

        Defendants.
  ______________________________/

                       MOTION TO DISMISS CLASS ACTION COMPLAINT
                        AND INCORPORATED MEMORANDUM OF LAW

         Pursuant to Rules 12(b)(1), 12(b)(6), 12(b)(7) and 19 of the Federal Rules of Civil
  Procedure, and Rule 7.1 of the Local Rules of the United States District Court for the Southern
  District of Florida, Defendants Centene Corporation, Inc. (“Centene”) and Centene Management
  Company, LLC (“CMC” and, together with Centene, “Defendants”), move for the entry of an
  Order dismissing the Complaint of Plaintiffs M.D., C.F., and E.M. (collectively, “Plaintiffs”).
                                          INTRODUCTION

         This case involves three individuals who are suing the wrong parties over the purported
  denial of insurance coverage for pharmaceuticals used for the treatment of hepatitis C. These
  drugs are known as direct-acting antiviral (“DAA”) drugs. The three Plaintiffs have medical
  insurance through a Florida health plan, but have not sued their insurer. Instead, Plaintiffs sued a
  parent holding company and another affiliated entity which provides services to their health plan
  through a management agreement. This misguided legal strategy fails for numerous reasons.
         First, this court lacks subject matter jurisdiction under Article III because Plaintiffs’
  claims are moot. Plaintiffs only challenge one criteria in the coverage guidelines for DAA drugs.
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  However, effective July 1, 2018, the challenged criteria has been eliminated from the coverage
  guidelines. Thus, the only relief sought has already been provided by Plaintiffs’ insurer.
          Second, Plaintiffs fail to allege that Plaintiffs demonstrated eligibility for coverage. The
  documents attached to the Complaint, and incorporated by reference, show that there are other
  coverage criteria requirements, aside from the single criteria that Plaintiffs challenge. Plaintiffs
  have not satisfied the threshold requirement of establishing that they satisfied all the coverage
  criteria. Nor have the Plaintiffs exhausted their administrative remedies by following the appeals
  process, which makes it impossible to determine if the challenged criteria ultimately caused the
  denial of coverage.
          Third, Plaintiffs’ tortious interference claim fails because (i) any actions taken by
  Defendants are privileged acts between a parent and subsidiary which legally cannot constitute
  tortious interference; (ii) a tortious interference claim requires a contract to be breached, but
  Plaintiffs cannot allege a breach or that Defendants were the “but for” cause of the breach; and
  (iii) Plaintiffs fail to attach the applicable contracts to the Complaint.
          Fourth, Defendants cannot be unjustly enriched because Plaintiffs do not confer the
  requisite “direct” benefit on Defendants. Fifth, Plaintiffs’ claim for declaratory relief likewise
  fails because, aside from being duplicative of its other claims, declaratory relief is not available
  for moot claims.      Sixth, Plaintiffs’ claims must be dismissed under Federal Rule of Civil
  Procedure 19 because Plaintiffs failed to join the insurers that denied their claims, which are
  necessary and indispensable parties. Finally, Plaintiffs’ choice of law allegations are defective.
                                            BACKGROUND
          Plaintiffs claim that they were denied coverage for DAA drugs because their insurer
  required its insureds to demonstrate certain degrees of liver damage, known as fibrosis or
  cirrhosis, before reaching a classification of “medical necessity” that would trigger coverage.
  Compl., Introduction, ¶¶ 14-16. These degrees of liver damage are graded by a Metavir score,
  from F0 to F4, with F0 being the least amount of damage and F4 being the greatest. See id. ¶¶ 5,
  26, fn. 5 and Exhibits B and C. Previously, a Metavir score of F3 or F4 was required to trigger
  coverage of DAA drugs. Compl., Exhibits B and C. However, those guidelines have been
  amended and all insureds are now able to obtain coverage for DAA drugs regardless of their
  Metavir score. See Post-July 1, 2018 DAA Drug Policies (attached as Composite Exhibit 1).
          Plaintiffs’ Florida health plan is known as Ambetter from Sunshine Health (“Sunshine

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  Health”). Compl., Exhibit A. Yet, Plaintiffs have intentionally avoided suing Sunshine Health
  for breaching the contract of insurance due to defenses they know are fatal to such a claim.
  Plaintiffs’ lawyers have already attempted to sue an insurer for this exact same claim, but their
  claims were rejected due to insurmountable defenses that would apply here as well.1
         Instead, Plaintiffs bring this putative class action against Centene and CMC. This legal
  strategy makes no sense. Centene is a parent holding company of various health plans, including
  Sunshine Health, and as such is a company with no employees. CMC provides services to
  various health plans, including Sunshine Health, through various management agreements.
  Centene is also CMC’s parent. Compl., at 2. As such, Centene and CMC cannot be sued based
  on the denial of an insurance coverage claim by Plaintiffs’ insurer.
         Sunshine Health’s coverage guidelines are attached to the Complaint. See Compl.,
  Exhibit A, Florida Evidence of Coverage. In the event of a claim denial, the Florida Evidence of
  Coverage provides a multi-level appeals process, including review by an independent, third-
  party. Compl., Exhibit B at p. 75. The Evidence of Coverage explains that if the insured is
  dissatisfied with a denial, they have a right to appeal. See id. If they are dissatisfied with the
  first level of appeal, they have a right to have a second, independent review that will be binding
  on the insurer. Id. In fact, Plaintiff M.D. followed the Plans’ appeal provision and her request
  for a DAA drug was approved. See Letter from Sunshine Health Sunshine Health to M.D. (July
  18, 2018) (attached as Exhibit 2). Therefore, before a plaintiff can allege that a coverage policy
  has adversely affected them, they should exhaust their administrative remedies by following the
  appeals process to determine if the rationale for denial survived the appeal.
         Central to Plaintiffs’ Complaint is the allegation that the coverage guidelines applicable
  to DAA drugs (attached to the Complaint as Exhibits B and C) were applied by the insurers to
  determine coverage. Id. at ¶¶ 38-40. The Complaint does not claim that there is anything wrong
  with an insurer relying on guidelines and clinical policies to make coverage determinations based
  on medical necessity. It only alleges that DAA drugs should be “medically necessary” for all
  Metavir scores, rather than just F3 and F4. Compl. ¶ ¶¶ 5, 26, 40, 41-45. 69-70.
         However, Plaintiffs’ Complaint ignores numerous key criteria that must be met to obtain
  coverage for DAA drugs. Plaintiffs fail to allege that they met all of these criteria and thus were

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         See Kondell v. Blue Cross and Blue Shield of Fla., 187 F. Supp. 3d 1348, 1353 (S.D. Fla.
  2006) (dismissing Rivero Mestre’s Complaint).
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  entitled to coverage. As set forth in Exhibits B and C to the Complaint, these other coverage
  requirements include: (1) detectable hepatitis C infection for at least six months; (2) a
  prescription for DAA drugs prescribed by, or in consultation with, a gasteroenterologist,
  hepatologist or infectious disease specialist; (3) at least 12 years of age and weight of at least
  35kg; (4) life expectancy of greater than 12 months; (5) documented sobriety from alcohol and
  illicit drugs for more than 6 months; and (6) agreement by member to participate in a medication
  adherence program. Compl., Exhibits B & C. In addition, effective July 1, 2018, all of the
  health plans at issue changed their coverage guidelines on DAA drugs, which now cover patients
  with Metavir scores of F0 through F4. See Post-July 1, 2018 DAA Drug Policies (attached as
  Composite Exhibit 1). Therefore, Plaintiffs’ claims are moot.
                                        LEGAL STANDARD

         Plaintiffs have the burden to prove that subject-matter jurisdiction exists over their
  lawsuit. See Elend v. Basham, 471 F.3d 1199, 1206 (11th Cir. 2006). A motion to dismiss for
  lack of subject-matter jurisdiction under Rule 12(b)(1) may be either a “facial” or “factual”
  attack. See Odyssey Marine Exploration, Inc. v. Unidentified Shipwrecked Vessel, 657 F.3d
  1159, 1169 (11th Cir. 2011). A facial attack challenges subject-matter jurisdiction on the basis
  of the allegations in the Complaint, and the Court takes the allegations as true. See id. “Factual
  attacks challenge subject matter jurisdiction in fact,” and on these the Court need not accept
  Plaintiffs’ allegations as true. Tenet Healthsystem GB, Inc. v. Care Improvement Plus S. Cent.
  Ins. Co., 162 F. Supp. 3d 1307, 1309-10 (N.D. Ga. 2016), aff’d, 875 F.3d 584 (11th Cir. 2017).
  When considering a factual attack, the “Court may consider extrinsic evidence.” United States
  ex rel. Osheroff v. Humana, Inc., 776 F.3d 805, 811 (11th Cir. 2015).2 Defendants’ mootness
  argument is covered by Rule 12(b)(1).
         Under Rule 12(b)(6), a complaint may not survive dismissal unless it “contain[s]
  sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its
  face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation omitted). “[A] plaintiff’s obligation
  to provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires more than labels and conclusions,

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         Defendants’ mootness argument is covered by Rule 12(b)(1). The coverage guidelines
  for DAA drugs, which no longer include the requirement for an F3 or F4 Metavir score, should
  be deemed to be incorporated by reference into the Complaint because they are referred to
  throughout the Complaint. However, this Court can also consider them as extrinsic evidence
  under rule 12(b)(1).
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  and a formulaic recitation of the elements of a cause of action will not do.” Bell Atl. Corp. v.
  Twombly, 550 U.S. 544, 555 (2007) (citation omitted). “Factual allegations must be enough to
  raise a right to relief above the speculative level,” id., meaning that a plaintiff must “plead[]
  factual content that allows the court to draw the reasonable inference that the defendant is liable
  for the misconduct alleged.” Iqbal, 556 U.S. at 678. And while the Court must accept a
  plaintiff’s well-pleaded facts as true, it need not accept “conclusory allegations, unwarranted
  deductions of fact[],” Oxford Asset Mgmt., Ltd. v. Jaharis, 297 F.3d 1182, 1188 (11th Cir. 2002),
  or “legal conclusion[s] couched as a factual allegation,” Iqbal, 556 U.S. at 678. In addition,
  “[W]hen the exhibits contradict the general and conclusory allegations of the pleading, the
  exhibits govern.” Griffin Indus., Inc. v. Irvin, 496 F.3d 1189, 1206 (11th Cir. 2007).
                                             ARGUMENT

  I.     THE COURT LACKS SUBJECT MATTER JURISDICTION BECAUSE
         PLAINTIFFS’ CLAIMS ARE MOOT

         Plaintiffs M.D., C.F. and E.M.’s claims are not within the scope of Article III because
  their claims are moot, given that the insurers changed the coverage guidelines on DAA drugs,
  which are now covered for patients with Metavir scores F0 through F4. “If events that occur
  subsequent to the filing of the lawsuit or an appeal deprive the court of the ability to give the
  plaintiff or appellant meaningful relief, then the case is moot and must be dismissed. See Al
  Najjar v. Ashcroft, 273 F.3d 1330, 1336 (11th Cir. 2001) (dismissing case as moot where since
  the time the case was filed, the existence of a live dispute ceased).
          “It is by now axiomatic that Article III of the Constitution limits the judicial power of the
  United States to the resolution of cases and controversies.” DiMaio v. Democratic Nat. Comm.,
  520 F.3d 1299 (11th Cir. 2008) (internal quotation marks omitted). In order for Article III
  standing to exist:
         First, the plaintiff must have suffered an injury in fact—an invasion of a legally
         protected interest which is (a) concrete and particularized, and (b) actual or
         imminent, not conjectural or hypothetical. Second, there must be a causal
         connection between the injury and the conduct complained of—the injury has to
         be fairly traceable to the challenged action of the defendant, and not the result of
         the independent action of some third party not before the court. Third, it must be
         likely, as opposed to merely speculative, that the injury will be redressed by a
         favorable decision.

  Lujan vs. Defenders of Wildlife, 504 U.S. 555, 560-61 (2008).

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         The doctrine of mootness has been described as “standing set in a time frame: The
  requisite personal interest that must exist at the commencement of the litigation (standing) must
  continue throughout its existence (mootness).” Flanigan’s Enter., Inc. of Ga. v. City of Sandy
  Springs, Ga., 868 F.3d 1248, 1268 (11th Cir. 2017). “[A] case is moot when it no longer
  presents a live controversy with respect to which the court can give meaningful relief. If events
  that occur subsequent to the filing of a lawsuit or an appeal deprive the court of the ability to
  give the plaintiff or appellant meaningful relief, then the case is moot and must be
  dismissed.” Miccosukee Tribe of Indians of Fla. v. United States, 420 F. Supp. 2d 1324, 1344
  (S.D. Fla. 2006) (closing case because of mootness where defendants were already in the process
  of implementing the relief requested) (quoting Florida Public Interest Research Group Citizen
  Lobby, Inc. v. Environmental Protection Agency, 386 F.3d 1070, 1086 (11th Cir.2004)).
         Plaintiffs’ claims are moot because, effective July 1, 2018, the coverage guidelines at
  issue for DAA drugs cover patients with all Metavir scores, F0 through F4. See Post-July 1,
  2018 DAA Drug Policies (attached as Composite Exhibit 1). The coverage guidelines for DAA
  drugs affect all putative class members and eliminate the only issue in dispute, thus mooting the
  case and depriving this Court of subject matter jurisdiction because there is no case and
  controversy. The coverage guidelines on DAA drugs are at the center of this dispute, and are
  therefore incorporated by reference into the Complaint, and can be considered under Rule
  12(b)(1).3   Further, Plaintiff M.D.’s claim is moot because she followed the Plans’ appeal
  provision and received coverage for a DAA drug. See July 18 Letter from Sunshine Health
  (attached as Exhibit 2).4
         This issue is not a novel issue, and other courts have denied claims as moot where a
  policy of denying DAA drugs based on a Metavir score of F3 or F4 was changed to provide
  coverage for all Metavir scores. That was the case in Homampour v. Blue Shield of Californoa
  Life & Health Insurance Co., in which the court stated:

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          In assessing the sufficiency of factual content and the plausibility of a claim, courts may
  consider documents that are undisputed and central to plaintiff’s claim. See S. Beach Skin Care,
  Inc. v. Dermaset, Inc., No. 13-CV-24645, 2014 WL 11958623, at *2 n.3 (S.D. Fla. Aug. 18,
  2014) (considering the content of a website on a motion to dismiss under the incorporation by
  reference doctrine).
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          Plaintiffs’ Complaint includes allegations about the claims review process for M.D. and
  therefore this letter is incorporated by reference. Compl. ¶ 41.
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         A change in policy moots a claim if the policy represents a “permanent change,”
         and is “broad in scope and unequivocal in tone” such that it indicates that
         recurrence of the challenged practice is unlikely. White, 227 F.3d at 1243. In Iron
         Arrow Honor Society v. Heckler, the Court found a claim moot on summary
         judgment where a formal change in policy was publicly announced, making it
         unlikely to be later reversed. 464 U.S. 67, 71-72 (1983) (claim was moot where a
         University “announced its decision to . . . the public, and the courts” such that
         “there is ‘no reasonable likelihood’ that the University will later change its
         mind”). In Picrin-Peron v. Rison, the Ninth Circuit found that a claim challenging
         certain provisions in a student election policy was moot where the school
         established a new policy and entered into a memorandum of understanding
         committing not to reenact the challenged provisions such that “there was no
         reasonable expectation that the injury the plaintiffs suffered will recur.” 378 F.3d
         1129, 1130-1131 (9th Cir. 2004).

  2016 WL 4539480, at *5 (N.D. Cal. Aug. 31, 2016) (finding mootness where defendant “revised
  its entire [DAA drug] policy to extend coverage and benefits generally to all members like
  Plaintiffs” by including coverage for F0 and F1 scores). Therefore, as in Homampour, Plaintiffs’
  claims must be dismissed as moot.
  II.    PLAINTIFFS FAIL TO SUFFICIENTLY ALLEGE THAT THEY MET ALL OF
         THE CRITERIA FOR DAA DRUG COVERAGE

         Plaintiffs fail to adequately allege that they qualified for DAA drug coverage under their
  health plan. The reason for Plaintiffs’ bizarre strategy of suing its insurer’s parent and affiliate is
  because Plaintiffs’ law firm has already attempted to sue insurance companies directly for this
  exact same claim and failed. That case was dismissed because the plaintiffs did not adequately
  allege they met all of the criteria, including non-Metavir score criteria, that would trigger
  coverage for DAA drugs. Thus, the insurer was under no contractual obligation to provide it. In
  Kondell v. Blue Cross and Blue Shield of Florida, Plaintiffs’ counsel sued Blue Cross and Blue
  Shield of Florida (“BCBSF”) claiming that it improperly denied a claim for DAA drug coverage
  based on not meeting the coverage guidelines, which among other things, included a Metavir
  score of F3 or greater. 187 F. Supp. 3d 1348, 1353 (S.D. Fla. 2006). Plaintiffs alleged that
  “meeting the definition of ‘Medically Necessary’ is the only requirement for coverage under the
  terms of the Policy.” Id.
         The Court found that the Policy, which was attached to the complaint, contradicted the
  allegations “that ‘Medically Necessary’ is the only requirement for coverage under the terms of
  the Policy.” Id. at 1356. The Court found that, in addition to “Medically Necessary,” the Policy

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  contained numerous additional coverage criteria, and concluded that the insurer could “rely on its
  coverage and payment guidelines in effect at the time a coverage decision is made.”               Id.
  Because the Plaintiffs never alleged that they met these additional criteria, they could not allege
  that they satisfied the necessary conditions to obtain coverage.         Id.   The Court therefore
  dismissed the case with prejudice, given that any amendment would be futile. Id.
          This case is similar to Kondell because Plaintiffs’ Complaint ignores the additional
  criteria required to trigger coverage for DAA drugs. The policies include numerous key criteria
  that govern the coverage of DAA drugs. Compl. Exhibits B and C. Yet, Plaintiffs ignore all of
  these requirements, focusing instead only on a Metavir score of F3 or F4. As these DAA drug
  policies state, there are other requirements, all of which must be met, including: (1) detectable
  hepatitis C infection for at least six months; (2) a prescription for DAA drugs prescribed by, or in
  consultation with, a gasteroenterologist, hepatologist or infectious disease specialist; (3) at least
  12 years of age and weight of at least 35kg; (4) life expectancy of greater than 12 months; (5)
  documented sobriety from alcohol and illicit drugs for more than 6 months; and (6) agreement by
  the member to participate in a medication adherence program. See Compl. Exhibits. B and C.
          Fatal to Plaintiffs’ claims, the Complaint does not allege that Plaintiffs met all of these
  criteria, even though Plaintiffs’ Complaint does not contest the validity of any of these
  requirements. Without alleging that the Plaintiffs met all of these other criteria, Plaintiffs cannot
  sufficiently allege that any denial of coverage was improper. Clearly, there can be no tortious
  interference or unjust enrichment by Centene or CMC because Plaintiffs’ insurer did not breach
  the contracts with its insureds.
          As in Kondell and Homanpour—Plaintiffs have no claim. The Complaint admits that the
  insurer of M.D., C.F. and E.M relies on its internal guidelines and clinical policies to make
  coverage determinations. Id. ¶ 38. The Complaint also admits that these internal guidelines and
  clinical policies are provided to internal claims reviewers. Id. ¶ 39. The Complaint does not
  claim that there is anything wrong with applying internal guidelines and clinical policies to make
  coverage determinations based on medical necessity. Nor does it allege that any of the other
  criteria for coverage of DAA drugs are improper, much less satisfied by the Plaintiffs. Thus,
  Plaintiffs’ fail to state a claim.
  III.    PLAINTIFFS FAIL TO STATE A CLAIM FOR TORTIOUS INTERFERENCE

          Plaintiffs’ tortious interference claim fails because: (1) Defendants’ conduct is justified

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  and therefore immune from liability because they are not “strangers” to the contract; (2)
  Plaintiffs cannot establish causation because they had the ability to seek appellate review,
  including independent external review of the coverage decision, and such decision could not
  have been influenced or “interfered with” by Defendants; and (3) Plaintiffs fail to attach the
  policies at issue, which they claim were interfered with.
         The elements of a claim for tortious interference with a contract are: (1) the existence of a
  contract; (2) defendant’s knowledge of the contract; (3) defendant’s intentional procurement of
  the contract’s breach (4) the absence of any justification or privilege; and (5) damages resulting
  from the breach. See Johnson Enters. of Jacksonville, Inc. v. FPL Group, Inc., 162 F. 3d 1290,
  1321 (11th Cir. 1998).
         A. Defendants’ Purported Interference Was Justified And Privileged

         A critical element of a claim for tortious interference is the absence of any justification or
  privilege. Plaintiffs’ Complaint fails to satisfy this element for two reasons. First, Plaintiffs fail
  to allege the absence of any justification or privilege with respect to Defendants. This omission,
  on its own, requires dismissal of Plaintiffs’ tortious interference claim. Security Title Guar.
  Corp. of Baltimore v. McDill Columbus Corp., 543 So. 2d 852 (Fla. 2d DCA 1989) (“[P]laintiff
  must show that the defendant acted without justification.”)
         Further, Defendants are not third parties (or “strangers”) to the insurers. Under Florida
  law, to meet the element that the interference was not “privileged” or “justified”—the defendant
  must be a third party, a stranger to, and external to the business relationship, and there can be no
  tortious interference if a parent has a financial interest in the conduct or contractual relations of a
  subsidiary. Johnson Enters., 162 F. 3d at 1321-22 (holding that parent had requisite financial
  interest in subsidiary to invoke its privilege of intervening in a contact); Int’l Mulch Co. v. Novel
  Ideas, Inc., No. 14-CV-3024, 2015 WL 12830375, at *4 (M.D. Fla. 2015) (finding privilege
  applicable to the defendant, who was an owner and officer of the party he purportedly tortiously
  interfered with, and was not a stranger); Traco Int’l. S.A. v. Kromka, 706 F. Supp. 2d 1283, 1289
  (S.D. Fla. 2010) (“A defendant is not a stranger to a business relationship if the defendant has
  any beneficial or economic interest in, or control over, that relationship.”) (internal quotations
  omitted); Salit v. Ruden, McClosky, Smith, Schuster & Russell, P.A., 742 So. 2d 381, 386 (Fla.
  4th DCA 1999) (“For the interference to be unjustified, the interfering defendant must be a third
  party, a stranger to the business relationship.”); Genet Co. v, Annheuser Busch, Inc., 498 So. 2d

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   683 (Fla. 3d DCA 1986) (holding that defendant could not tortiously interfere because it was not
   a stranger to the contract); Ethyl Corp. v. Balter, 386 So. 2d 1220, 1225 (Fla. 3d DCA 1980)
   (same).5
          In the first two pages of the Complaint, Plaintiffs allege that: (1) Celtic is an insurer, (2)
   that CMC is Celtic’s parent; and (3) that Centene is CMC’s parent. Even taking these allegations
   as true, the Complaint admits that Centene and CMC are not external (or “strangers”) to the
   contractual relationship between Plaintiffs and their insurer, and that any actions taken by
   Defendants would be in their own financial interests. In doing so, the Complaint states:
             Defendants and Celtic have a parent-subsidiary relationship and that both Celtic and
              CMC are subsidiaries of Defendant, Centene. Compl. at p. 2 & ¶¶ 17-18.

             CMC and Centene created nationwide guidelines and instruction manuals that
              specified how Celtic (and the other insurer subsidiaries) should apply the definition of
              “medical necessity” to particular drugs, including the DAA drugs, and required the
              insurer’s claims reviewer to apply those guidelines. Id. at ¶¶ 38-40.

             Defendants’ created the guidelines to save money. Id. at ¶¶ 49, 80.

   These allegations admit that Defendants’ are not “strangers.”
          Plaintiffs also ignore Florida’s very strong corporate separateness doctrine and the high
   burden for piercing the corporate veil. Parent-subsidiary relationships do not destroy corporate
   separateness. “Parent corporations and their subsidiaries are separate and distinct legal entities
   and a parent is not liable for the torts of its subsidiaries or contracts entered into by its
   subsidiary.” Cooper v. Paul Revere Life Ins. Co., 09-CV-1870, 2010 WL 11507084, at *2 (M.D.
   Fla. Aug. 12, 2010) (quoting American Intern. Group, Inc. v. Cornerstone Businesses, Inc., 872
   So. 2d 333, 336 (Fla. 2d DCA 2004)); see In re Homelands of DeLeon Springs, Inc., 190 B.R.
   666, 670 (Bankr. M.D. Fla. 1995) (declining to pierce corporate veil, holding, “[I]t is a legitimate

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           See also Perry v. Unum Life Insurance Co. of America, 353 F. Supp. 2d 1237, 1241
   (N.D. Ga. 2005) (“[A] parent corporation cannot be a stranger to its subsidiaries’ business or
   contractual relations.”); Seabury Management Inc. v. Professional Golfer’s Ass’n of America,
   Inc., 878 F. Supp. 771 (D. Md. 1994) (“A parent corporation has a privilege to interfere to
   protect its economic interests.”) Further, Florida law recognizes that “actions taken to safeguard
   or protect one’s financial interest are privileged; see, e.g., Abruzzo v. Haller, 603 So. 2d 1338,
   1339-40 (Fla. 1st DCA 1992) (“An agent of a corporate party to a contract . . . cannot be
   considered to be a separate entity outside of the contractual relationship which can tortiously
   interfere with that relationship.”).


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   corporate purpose to set up a corporation to be a real estate holding company” and “to set up a
   corporation to be an operating company,” and reasoning “[t]hose who seek to pierce the
   corporate veil carry a very heavy burden.”). Notably, the Complaint here contains no allegations
   about corporate veil piercing. See Fox v. Loews Corp., 309 F. Supp. 3d 1241, 1249 (S.D. Fla.
   2018) (dismissing complaint for plaintiff’s failure to “explain how the remaining named
   Defendants are responsible for conduct he attributes to the unnamed subsidiaries.”).
          In addition, Plaintiffs fail to allege facts showing how Defendants’ actions were
   improper.    Plaintiffs’ Complaint includes conclusory allegations that Defendants induced
   Plaintiffs’ insurer to breach the insurance contracts through “willful, oppressive, and malicious
   means, including Celtic’s breach through fraud and deception by misrepresenting that the [DAA
   drugs], does not satisfy the insurance policies’ definition of medical necessity.” Compl. ¶ 73.
   Plaintiffs fail to offer any facts to support these allegations and without more, Plaintiffs’
   allegations do not establish an improper purpose. See Int’l Mulch Co., 2015 WL 12830375, at *5
   (finding that plaintiff’s conclusory allegation that defendant “used improper means, acted in bad
   faith, and acted out of self-interest in intentionally interfering” with the contract was not
   supported by any facts and therefore insufficient to establish an improper purpose); see also, e.g.,
   Iqbal, 556 U.S. at 678 (holding that a plaintiff must “plead[] factual content that allows the court
   to draw the reasonable inference that the defendant is liable for the misconduct alleged.”).
          Further, Plaintiffs’ allegations that Defendants’ actions were financially motivated negate
   any claimed “improper purpose.” See, e.g., Freeman Management Corp. v. Shurguard Storage
   Centers, LLC, 461 F. Supp. 2d 629, 641 (M.D. Tenn. 2006) (finding that the allegations did not
   support the improper motive requirement and that “the only reasonable inference to be
   drawn, . . . was that defendant was motivated purely by its own business interests, in the pursuit
   of which it caused incidental harm to Plaintiffs”). Even if Defendants’ guidelines are in their
   economic interest, this is an admission of privileged conduct. Further, Defendants’ guidelines
   applicable to DAA drugs state in the “Important Reminder” section that they are supported by
   extensive peer-reviewed medical literature, which is cited in the “References” section of the
   guidelines. Compl., Exhibit B at 5-7, and C at 6-9. This contradicts any inference of an
   improper purpose. Nevertheless, Florida law is clear that even if any conduct at issue involved
   animosity or malice, that still does not constitute tortious interference under Florida law.
   Menendez v. Beech Acceptance Corp., 521 So. 2d 178, 180 (Fla. 3d DCA 1988) (finding that

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   conduct engaged in to protect one’s own financial interest, even if tinged with animosity or
   malice, does not give rise to tortious interference). Therefore, Plaintiffs’ tortious interference
   claim should be dismissed with prejudice.
          B. Plaintiffs Cannot Establish That Defendants Were A But-For Cause Of The
             Purported Breach

          For Plaintiffs to succeed in their tortious interference claim, they must show that
   Defendants were the “but-for” cause of the breach. ISS Cleaning Services Group, Inc. v. Cosby,
   745 So. 2d 460 (Fla. 4th DCA 1999) (stating that the plaintiff must establish that the agreement,
   “in all probability would have been completed if the defendant had not interfered”).            The
   “representative” Evidence of Coverage (attached to the Complaint as Exhibit A) negates this
   element. The policy explains that if an insured is dissatisfied with a denial of coverage, they
   have a right to appeal. See Compl., Exhibit B at p. 75. If they are dissatisfied with the first level
   of appeal, they have a right to have an independent, third party review that is binding. Id.
          As a result, it is impossible for Plaintiffs to claim that Defendants tortiously interfered
   with the contract and were the “but-for” cause of the breach, where Plaintiffs do not allege that
   they participated in the appellate process, including independent review, to determine if denial of
   coverage was sustained on appeal. In fact, one Plaintiff, upon pursuing the appellate process, was
   approved for coverage. This is even more meaningful when the ultimate decision-maker with
   respect to coverage of the DAA drugs is an independent, third-party reviewer who conducts an
   external review.    The Complaint includes no allegation that Plaintiffs pursued, much less
   completed, this multi-level appeals process. This negates Plaintiffs’ tortious interference claim.
          C. Plaintiffs Fail To Attach The Specific Contracts At-Issue

          A complaint based upon a written instrument fails to state a cause of action until the
   instrument, or relevant part thereof, is attached or incorporated into the complaint. See Kruse v.
   Mass. Mut. Life Ins. Co., No. 17-CV-61115, 2017 WL 3494334, at *5 (S.D. Fla. Aug. 15, 2017)
   (concluding that “a complaint based on a written instrument does not state a cause of action until
   the instrument or an adequate portion thereof, is attached to or incorporated in the complaint.”).6



   6
          See also Samuels v. King Motor Co. of Fort Lauderdale, 782 So. 2d 489, 500 (Fla. 4th
   DCA 2001) (quoting Safeco Ins. Co. of Am. v. Ware, 401 So. 2d 1129, 1130 (Fla. 4th DCA 1981));
   Contractors Unlimited, Inc. v. Nortrax Equip. Co. Southeast, 833 So. 2d 286, 288 (Fla. 5th DCA
                                                    12
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   To state a claim for tortious interference, the plaintiff must allege an underlying breach of
   contract. See Johnson, 162 F. 3d at 1321. Plaintiffs’ nationwide putative class action alleges
   that Defendants “intentionally interfered with, and induced Celtic to breach the Policies.”
   Compl. ¶ 73. Plaintiffs fail to attach these policies, or even identify each of these policies,
   including the provisions allegedly breached. Plaintiffs’ failure to do so warrants dismissal.
   IV.    PLAINTIFFS’ UNJUST ENRICHMENT CLAIM MUST BE DISMISSED
          BECAUSE NO DIRECT BENEFIT WAS CONFERRED ON DEFENDANTS

          Plaintiffs ask this Court to make vast leaps in logic to find that the payment of premiums
   to one company constitutes unjust enrichment to its parent and affiliates. A party cannot bring
   an unjust enrichment claim where the conduct at issue is covered by a contract.7 A necessary
   condition of a claim for unjust enrichment is that the benefit conferred on the defendant must
   be “direct, not indirect or attenuated.” Id. at *6. As the Eleventh Circuit recently held, “[T]he
   benefit conferred on the defendant [to state a claim for unjust enrichment under Florida law]
   must be a direct benefit.” Johnson v. Catamaran Health Sols., LLC, 687 F. App’x 825, 830
   (11th Cir. 2017) (affirming dismissal of unjust enrichment claim for failure to allege a
   sufficiently direct benefit) (emphasis in original).8


   2002) (“A complaint based on a written instrument does not state a cause of action until the
   instrument or an adequate portion thereof, is attached to or incorporated in the complaint.”).
   7
           Of course, one cannot sue on an “implied” contract when an actual contract governs the
   rights and responsibilities of the parties, as here. In re Managed Care, 185 F. Supp. 2d 1310,
   1337-38 (S.D. Fla. 2002). An unjust enrichment claim can only be plead in the alternative if one
   or more of the parties contest the existence of an express contract governing the subject matter of
   the dispute, and such is not the case here. Webster v. Royal Caribbean Cruises, Ltd., 124 F.
   Supp. 2d 1317, 1326 (S.D. Fla. 2000); ThunderWave Inc. v Carnival Corp., 954 F. Supp. 1562,
   1566 (S.D. Fla 1997). “Unjust enrichment is an equitable cause of action that is unavailable
   where the underlying wrongs are properly addressed by a legal remedy.” Licul v. Volkswagen
   Group of Am., Inc., 13-CV-61686, 2013 WL 6328734, at *7 (S.D. Fla. Dec. 5, 2013).
   8
           See also Kopel v. Kopel, 117 So. 3d 1147, 1152-53 (Fla. 2013) (holding a plaintiff’s
   payment of approximately $1.8 million into two corporations in which the defendant had two-
   thirds ownership stakes constituted only an “indirect” benefit to the defendant that could not
   support an unjust enrichment claim), rev’d on other grounds, 2017 WL 372074 (Fla. Jan. 26,
   2017); Peoples Nat’l Bank of Commerce v. First Union Nat’l Bank of Fla., N.A., 667 So. 2d 876,
   879 (Fla. 3d DCA 1996) (per curiam) (affirming dismissal unjust enrichment claim due to the
   lack of any benefit conferred directly on defendant). Courts have applied this principle to
   providers seeking reimbursement from insurers through unjust enrichment claims. See, e.g.,
                                                     13
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          Here, Plaintiffs fail to allege any cognizable direct benefit that they conferred directly on
   Defendants. Rather, Plaintiffs simply allege that Defendants were “unjustly enriched, through
   the payment of insurance premiums to purchase and maintain the Policies” and that they should
   not retain “the ill-gotten benefits they received from Plaintiffs and Class Members.” Compl. ¶
   76. However, the Complaint alleges that insurance premiums were paid to a non-party insurer,
   not to the Defendants. Compl. at p. 2. Plaintiffs do not allege any direct dealings with CMC or
   Centene that would establish a basis for a quasi-contract, and therefore the Complaint is devoid
   of any “direct” benefit that Plaintiffs conferred on Defendants. Crucially, Plaintiffs omit any
   allegation that their premiums are paid directly to Defendants, Centene and CMC. Thus, this
   count must be dismissed.
   V.     PLAINTIFFS FAIL TO STATE A CLAIM FOR DECLARATORY RELIEF

          To receive declaratory relief, “plaintiffs must establish that there was a violation, that
   there is a serious risk of continuing irreparable injury if the relief is not granted, and the absence
   of an adequate remedy at law.” Central Magnetic Imaging Open MRI of Plantation, Ltd. v. State
   Farm Mutual Automobile Ins. Co., 789 F. Supp. 2d 1311, 1317 (S.D. Fla. 2011) (quoting Bolin v.
   Story, 225 F.3d 1234, 1242 (11th Cir. 2000)). Plaintiffs’ declaratory judgment request is moot
   because, as explained above, the insurers at issue provide coverage for DAA drugs for patients
   with all Metavir scores. See Santa Rosa County v. Administration Commission, Division of
   Administrative Hearings, 661 So. 2d 1190, 1191-93 (Fla. 1995) (declaratory judgment action
   concerning constitutionality of statutes moot following parties’ resolution of dispute because
   further litigation would only be to resolve “hypothetical” issues); Ahearn v. Mayo Clinic, 180 So.
   3d 165 (Fla 1st DCA 2015) (granting summary judgment on declaratory relief where in the
   middle of the case hospital defendant waived the fee in controversy and therefore “the requisite
   personal interest that exist[ed] at the commencement of the litigation” did not “continue
   throughout the existence of the case.”) Therefore, this claim must be dismissed.
   VI.    PLAINTIFFS FAIL TO JOIN NECESSARY PARTIES



   Hialeah Physicians Care, LLC v. Conn. Gen. Life Ins. Co., No. 13-CV-21895, 2013 WL
   3810617, at *4 (S.D. Fla. July 22, 2013) (“[A] third party providing services to an insured
   confers nothing on the insurer except, a ripe claim for reimbursement, which is hardly a
   benefit.”).

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          Plaintiffs’ Complaint fails pursuant to Federal Rule of Civil Procedure 12(b)(7) for
   failure to join indispensable parties. The failure to join an indispensable party is fatal to a cause
   of action. See Fed. R. Civ. P. 12(b)(7). In considering a Rule 12(b)(7) motion, the Court applies
   the standards of Federal Rule of Civil Procedure 19 to determine whether dismissal is
   appropriate. Laker Airways, Inc. v. British Airways, PLC, 182 F.3d 843, 847 (11th Cir. 1999).
   First, the Court must determine whether the absent party is a necessary party that should be
   joined under Rule 19(a). See Fed. R. Civ. P. 19; Laker Airways, 182 F.3d 843, 847.
          If the party should be joined under Rule 19(a), but for some reason cannot be, the Court
   then proceeds to the second part of the analysis, which is contained in Rule 19(b). Id. Under
   Rule 19(b), the Court must decide whether “in equity and good conscience” the suit should
   proceed without the necessary party. Id. Under Rule 19(a), “[w]hether a particular nonparty is
   necessary to an action is heavily influenced by the facts and circumstances of each case.”
   BankUnited, N.A. v. Milliman, Inc., No. 15-CV-1357, 2015 WL 13333187, at *4 (M.D. Fla. July
   24, 2015). When making its determination, the Court must consider whether complete relief can
   be granted with the present parties, and whether the absent party has an interest in the
   disposition. Fed. R. Civ. P. 19(a).
          Plaintiffs allege that: (1) they have a contract of insurance; (2) their insurer is responsible
   for coverage determinations; and (3) their insurer denied coverage for certain medical treatment.
   Compl. ¶ 2. Plaintiffs’ Complaint, as pled, does not permit the redress of Plaintiffs’ alleged
   injuries because without including the insurers, which make the coverage determinations, there
   can be no relief.
          As Plaintiffs allege, the insurer has broad discretion to make benefit determinations. See
   Compl., Exhibit A at 80 (“We have the full power, authority, and discretion to construe and
   interpret any and all provisions of this contract to the greatest extent allowed by applicable law.”)
   Therefore, failure to join the insurers who denied their claims would leave Plaintiffs in the exact
   same position (ignoring the fact that (1) Plaintiffs are now eligible for DAA drug coverage
   regardless of their Metavir score, and (2) one Plaintiff has already obtained DAA drug coverage
   by following the appeals process). This is the precise kind of incomplete relief that renders an
   absent party necessary. See, e.g., Focus on the Family v. Pinellas Suncoast Transit Auth., 344
   F.3d 1263, 1280 (11th Cir. 2003) (finding that a nonparty was required when complete relief
   could not be afforded in the nonparty’s absence, as the defendant transit authority could not

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   require the running of a particular advertisement on bus shelters owned by the nonparty); Laker
   Airways, 182 F.3d at 848 (“[The absent party] is the only entity that can allocate slots at Gatwick
   Airport. Without [absent party], [Defendant] would not be able to manipulate . . . the slot
   allocation process.”);
          If the required parties cannot be joined, the Court must engage in the second step of the
   analysis under Rule 19(b). In doing so, the Court balances four factors in determining whether a
   necessary absent party is indispensable: (1) the Court cannot accord complete relief among the
   existing parties; (2) prejudice would result to the absent party’s ability to protect itself in the
   instant action; or (3) the nonparty’s absence would create a substantial risk that the existing
   parties would incur inconsistent or duplicative obligations.9 Hallums v. Infinity Ins. Co., 16-CV-
   24507, 2018 WL 1009277, at *3 (S.D. Fla. Feb. 20, 2018).
          These factors mandate dismissal.        First, Plaintiffs’ claims against Defendants are
   contingent upon improper claim denials by Plaintiffs’ insurer, yet this Court cannot rule on the
   proprietary of the coverage determinations without the insurer.         Second, interpretations of
   insurance coverage determinations, without the insurers, would prejudicially deprive the insurers
   of their ability to defend their own decisions. Further, by failing to join the insurers, Plaintiffs
   seek to circumvent their contractual rights in order to derive a better bargain than the arms-length
   bargain they made with their insurers.10 As pled, the insurers could be sued in a separate class
   action, by separate Plaintiffs’ counsel, over the same issues raised in this lawsuit, which
   undoubtedly could give rise to inconsistent and competing obligations. This is not speculation,
   given that Plaintiffs’ counsel has previously sued insurers directly over this same issue.
   Accordingly, the insurers are indispensable parties and this case should be dismissed.11
   VII.   PLAINTIFFS’ CHOICE OF LAW ALLEGATIONS ARE DEFECTIVE

   9
          These factors are “not intended to exclude other considerations”; “pragmatic
   considerations” play a key role. Fed. R. Civ. P. 19 advisory committee’s notes.
   10
           Plaintiffs did not bring an action directly against their insurers, the more proximate party
   in interest, likely in part because insurers have broad “discretion to determine the limits of
   reimbursement,” especially when made “reasonably and in good faith,” as here. Hickman v. Gem
   Insurance Co., Inc., 299 F.3d 1208 (10th Cir. 2002) (granting summary judgment in favor of
   defendant insurer and holding that insurers have broad discretion to interpret plan scope).
   11
          The Complaint does not identify all the insurers that serve the putative class. This adds
   an additional layer of confusion that the Complaint fails to address.


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          When a federal court exercises diversity jurisdiction, it must apply the choice of law rules
   of the forum state to determine which substantive law governs the action. Klaxon Co. v. Stentor
   Elec. Mfg. Co., 313 U.S. 487, 496 (1941). This action was commenced in Florida federal court
   pursuant to the Class Actions Fairness Act of 2005 (“CAFA”). The Court must therefore
   determine which state’s substantive law the Florida Supreme Court would choose to govern
   Plaintiffs’ claims. U.S. Fid. & Guar. Co. v. Liberty Surplus Ins. Corp., 550 F.3d 1031, 1033
   (11th Cir. 2008).12 Plaintiffs fail to specify which state laws apply to their claims. Pursuant to
   Florida’s choice-of-law rules, and for purposes of this Motion, Defendants apply Florida law as
   the named Plaintiffs reside in Florida and their alleged injuries occurred in Florida.13 However,
   Plaintiffs’ failure to sufficiently allege which state laws apply, renders the Complaint defective.
                                             CONCLUSION
          For the foregoing reasons, the Court should grant this motion and enter an Order
   dismissing the Complaint.




   12
           To choose the substantive law for a tort claim, such as a claim for tortious interference,
   Florida courts use the “most significant relationship” test. Bishop v. Fla. Specialty Paint Co.,
   389 So.2d 999, 1001 (Fla.1980) (adopting the Restatement (Second) of Conflict of Laws § 145
   (1971)). The Florida Supreme Court has recognized that “[t]he state where the injury occurred
   would, under most circumstances, be the decisive consideration in determining the applicable
   choice of law.” Bishop, 389 So.2d at 1001. For unjust enrichment, which is in the nature of a
   contract claim, the test is that of lex loci contractus, which looks to the place where the contract
   was executed. See In re NationsRent Rental Fee Litigation, No. 06-CV-60924, 2009 WL
   636188, at *10 (S.D. Fla. Feb 24, 2009) (“An unjust enrichment claim is one in the nature of
   quasi-contract. Florida's choice of law as to contracts is that of lex loci contractus, which looks
   to the place the contract was executed.”).
   13
           Plaintiffs are pursuing a nationwide class action. When the significant relationship and
   lex loci contractus tests are applied to the nationwide class that Plaintiffs purport to represent, the
   result will be that the law of all applicable states will have to be applied and the Court will have
   to analyze each class member’s claim under the law of his or her home state. Such a task would
   make this case unmanageable, given that such an action would dwarf any common issues of fact
   implicated by the lawsuit. Further, Plaintiffs’ claims for tortious interference and unjust
   enrichment are lumped into two counts, even though these claims purport to cover the laws off
   all relevant states (which makes no sense). All of this will present an insurmountable hurdle for
   Plaintiffs’ purported class action because the variations in the states’ laws are “sufficiently
   substantial to cause individual issues of law to predominate over supposed common
   issues.” Montgomery v. New Piper Aircraft, Inc., 209 F.R.D. 221 (S.D. Fla. June 26,
   2002). Defendants will brief this issue at the appropriate time.
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   Dated: August 6, 2018

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                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on August 6, 2018, a true and correct copy of the foregoing

   was electronically filed with the Clerk of Court using CM/ECF.           Copies of the foregoing

   document will be served upon interested counsel via transmission of Notices of Electronic Filing

   generated by CM/ECF.


                                               By:    /s/ Marty Steinberg




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